Case 8-19-73236-las Doc9 Filed 05/29/19 Entered 05/29/19 16:59:29

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK Chapter 13

 

In Re:

Case No. 8-19-73236-las
ANNA M. SACKOLWITZ,

Debtor(s)
X
AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b)

 

ANNA M. SACKOLWITZ, the undersigned debtors herein, swear as follows:
1. Debtor filled a petition under chapter 13 of the Bankruptcy Code on _May 3, 2019

2. Schedules I, J, and Summary of Assets were not filed at the time of filing of the said petition, and are
being filed herewith.

3. The schedules filed herewith reflect no additions or corrections to, or deletions from, the list of
creditors which accompanied the petition.

Annexed hereto is a listing of names and addresses of scheduled creditors added to or
deleted from the list of creditors which accompanied the petition. Also listed, as applicable, are any
scheduled creditors whose previously listed names and/or addresses have been corrected. The nature of
the change (addition, deletion or correction) is indicated for each creditor listed.

4. (If creditors being added) An amended mailing matrix is annexed hereto, listing added

creditors ONLY, in the format prescribed by Local Rule 1007-3.
Reminder: No amendment of schedules is affective until proof of service in accordance with
EDNYLBR 1009-1(b) has been filed with the Court
Any additions to the list of creditors which accompanied the petition will be deemed an amendment to
that list; if this amendment is filed prior to the expiration of the time period set forth in Fed. R. Bankr. P.
4004 and 4007, it will be deemed to constitute a motion for a 30-day extension of the time within which
any added creditors may file a complaint to object to the discharge of the debtor and/or to determine
dischargeability. This motion will be deemed granted without a hearing if no objection is filed with the
Court and served on debtors within 14 days following filing of proof of service of this affirmation, all
attachments and the amended schedules in accordance with EDNY LRB 1009-1

Dated: May 3, 2019 /S/Anna M. Sackolwitz
ANNA M. SACKOLWITZ

Sworn To before me this
29" day of May, 2019

/s/ Angela Yadgaroff

Notary Public of the State of New York
ID No.; 01YA6206614

Qualified in Queens County
Commission Expires on May 26, 2021
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Fill in this information to identi

Debtor 1 Anna M. Sackolwitz

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number 8-19-73236 Check if this is:

(If known) 0 An amended filing

01 Asupplement showing postpetition chapter
13 income as of the following date:

 

 

 

Official Form 106I MM/DD/YYYY
Schedule |: Your Income 42/1

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every questio

Describe Employment

1. Fill in your employment

 

information. Debtor 4 Debtor 2 or non-filing spouse
If you have more than one job, a Employed a Employed
attach a separate page with Employment status o
information about additional LI Not employed Not employed
employers.
ploy Occupation Supervising School Aid Hairdresser

 

Include part-time, seasonal, or ; ;
self-employed work. Employer's name NYC Dept of Education Armani Salon

Occupation may include student Employer's address

 

or homemaker if it applies 1665 St Marks Ave 381 Sunrise Hgway
7 HIP ppries. Brooklyn, NY 11233 Lynbrook, NY 11563
How long employed there? 25 years 15 years

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

ForDebtori.-—_- For Debtor 2 or
: non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 3,407.73 $ 0.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 3,407.73 $ 0.00

 

 

 

 

 

EG ARI eee A Oo be be wet ee

aan 4
Debtor 1

10.

11.

12.

13.

FREE ADT ime AE

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.

8b.
8c.

8d.
8e.
8f.

8g.
8h.

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Anna M. Sackolwitz

 

Case number (if known)

8-19-73236

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘For Debtor 1 For Debtor 2 or
non-filing spouse

Copy line 4 here 4. § 3,407.73 §$ 0.00
List all payroll deductions:

Tax, Medicare, and Social Security deductions Sa. §$ 576.38 $ 0.00

Mandatory contributions for retirement plans Sb.  $ 0.00 $ 0.00

Voluntary contributions for retirement plans Sc. § 477.08 $ 0.00

Required repayments of retirement fund loans 5d.  $ 206.33 $ 0.00

Insurance Se. §$ 13.17 §$ 0.00

Domestic support obligations Sf § 0.00 $ 0.00

Union dues 5g. § 42.21 $ 0.00

Other deductions. Specify: 5h.t §$ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 = § 1,315.17 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 = =6$ 2,092.56 $ 0.00
List all other income regularly received:

Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. § 0.00 «$ 1,395.92

Interest and dividends 8b. § 0.00 3$ 0.00

Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8. §$ 0.00 $ 0.00

Unemployment compensation 8d. §$ 000 $ 0.00

Social Security 8e. § 0.00 $ 0.00

Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: Sf. § 0.00 § 0.00

Pension or retirement income 8g. §$ 0.00 $ 0.00

Other monthly income. Specify: 8h.+ § 0.00 + $ 0.00
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. 1$ 0.00 $ 1,395.92
Calculate monthly income. Add line 7 + line 9. 10. $ 2,092.56 + $ 1,395.92 =3 3,488.4

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify:

 

 

 

 

 

 

 

 

11.

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies

Do you expect an increase or decrease within the year after you file this form?

EB
Oo

No.

 

+$ 0.0
$ 3,488.4
Combined

monthly income

 

Yes. Explain: |

 

Ot a. ee Be
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Fill in this information to identify. your. case:

 

 

 

Debtor 1 Anna M. Sackolwitz Check if this is:

(1 An amended filing
Debtor 2 (1 Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK MM /DD/YYYY

 

Casenumber §8-19-73236

(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/1

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

MI No. Go to line 2.
C1 Yes. Does Debtor 2 live in a separate household?

CI No
CO Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? MH No

 

 

 

 

Do not list Debtor 1 and 0 Yes, Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
Ee Cee | |6[ee

Do not state the ONo
dependents names. OQ Yes

C1 No

Oi Yes

CI No

CO Yes

01 No

CJ Yes

3. Do your expenses include MNo

expenses of people other than oO
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your Income : :
(Official Form 1061.) Your expenses
SRRD
4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. a) 0.00

 

If not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renters insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 200.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page
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Debtor1 Anna M. Sackolwitz

6.

CON

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12.

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14.
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21.
22.

23.

24.

Official Form 106J

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Case number (if known) 8-19-73236

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Utilities:
6a. Electricity, heat, natural gas 6a. $ 450.00
6b. Water, sewer, garbage collection 6b. $ 30.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 170.00
6d. Other. Specify: éd. $ 0.00
Food and housekeeping supplies 7. $ 1,300.00
Childcare and children’s education costs 8. §$ 0.00
Clothing, laundry, and dry cleaning 9. $ 250.00
Personal care products and services 10. $ 300.00
Medical and dental expenses 11. $ 100.00
Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments, 12. $ 600.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 150.00
Charitable contributions and religious donations 14. $ 30.00
Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 310.00
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: i7c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your Income (Official Form 106). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
Other: Specify: 21. +$ 0.00
Calculate your monthly expenses
22a. Add lines 4 through 21. $ 3,890.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 3,890.00
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 3,488.48
23b. Copy your monthly expenses from line 22c above. 23b. -$ 3,890.00
23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c. | $ ~401.52

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

BE No.

 

C] Yes. Explain here:

 

 

Schedule J: Your Expenses

page
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Fillin this information to identify your case:

Debtor 1 Anna M. Sackolwitz

First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © EASTERN DISTRICT OF NEW YORK

 

Case number §8-19-73236
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Yourassets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B...... ccc cc ccscsessescseneessnenectereeaseeesecaesetsssstassasaseassaeenasateeenanes $ 450,000.0
1b. Copy line 62, Total personal property, from Schedule AVB....... ee etessesseseetseesesenseetensecseeeescaesasesseeeeaearsseseeeess $ 5,220.0
ic. Copy line 63, Total of all property on Schedule A/B.o... ee ec ecccseeneceeeeeneeeeseseeesecaesaessenaevasaeeesssaeeseensensassasaneaes $ 455,220.0

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 532,270.2
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F..........cccce cece eee $ 0.0
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..........ccccccccseeees $ 10,099.0
Your total liabilities | $ 542,369.26

 

ieee | Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 Of SCHECUIC Io... eecccecscesssccessensecsetecssteessssseetssucessreuccarerensussnevssees $ 3,488.4

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of Schedule Ju... cccscccsesssecssessestsecssecsesessnesssseesentsassreetessertens $ 3,890.0

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

Wi =CYour debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

[CJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 Anna M. Sackolwitz Case number (if known) 8-19-73236

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

Total claim —

From Part 4.0n Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.) $ 6,403.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) 0.00

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00

9g. Total. Add lines 9a through Of. $ 6,403.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

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4,803.65

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